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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TEXAS
                                WACO DIVISION

WAG ACQUISITION, L.L.C.                          §
                                                 §
V                                                § NO. 6:21-CV-815-ADA
                                                 §
AMAZON.COM, INC. ET AL                           §


                     NOTICE OF APPEARANCE OF COUNSEL

       Defendants Amazon.com, Inc., Amazon Web Services, Inc. and Amazon.com

Services LLC (collectively “Amazon” or “Defendants”) hereby notify the Court that

Deron R. Dacus of the firm The Dacus Firm, P.C., 821 ESE Loop 323, Suite 430, Tyler,

Texas 75701, 903/705-1117, ddacus@dacusfirm.com, has entered this action as counsel

to be noticed on their behalf. In connection with this notice, Mr. Dacus requests that all

future pleadings and other papers filed under FED. R. CIV. P. 5 be served on him at the

above address and contact information.


                                      Respectfully submitted,

                                      /s/ Deron R. Dacus
                                      Deron R. Dacus
                                      Texas Bar No. 00790553
                                      THE DACUS FIRM, P.C.
                                      821 ESE Loop 323, Suite 430
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                            CERTIFICATE OF SERVICE

       The undersigned certifies that on this 17th day of September, 2021, all counsel of
record who are deemed to have consented to electronic service are being served with a
copy of this document through the Court’s CM/ECF system.


                                     /s/ Deron R. Dacus
                                     Deron R. Dacus




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